   Case 1:19-cr-00725-JPO Document 160-8 Filed 12/23/20 Page 1 of 3




                       Exhibit H
Mr. Kukushkin’s demand for a Bill of Particulars dated
                November 19, 2020
        Case 1:19-cr-00725-JPO Document 160-8 Filed 12/23/20 Page 2 of 3




                                                    November 19, 2020


VIA EMAIL

Rebekah Donaleski, Esq.
Nicolas Roos, Esq.
Douglas Zolkin, Esq.
Assistant United States Attorneys
United States Attorney’s Office
Southern District of New York
One St. Andrew’s Plaza
New York, New York 10007

                      Re: United States v. Kukushkin, et al., 19 Cr. 725 (S1)(JPO)

Dear Counsel:

        We write as counsel to Andrey Kukushkin to seek a Bill of Particulars pursuant to Rule
7(f) of the Federal Rules of Criminal Procedure. The particulars we seek are as follows:
       Count Four – The Foreign National Donor Scheme:
       1. With respect to paragraph 47 (b) of the Superseding Indictment, identify each alleged
          contribution or donation, or express or implied promise to make contributions or
          donations, directly or indirectly, by a foreign national in connection with federal and
          State elections, aggregating to $25,000 and more in a calendar year which the
          government contends Mr. Kukushkin and the other defendants conspired to make;
          and
        Case 1:19-cr-00725-JPO Document 160-8 Filed 12/23/20 Page 3 of 3




       2. With respect to paragraph 47 (c) of the Superseding Indictment, identify each alleged
          contribution to candidates for State and federal office, joint fundraising committee,
          and independent expenditure committee in the names of others aggregating to
          $25,000 and more in a calendar year which the government contends Mr. Kukushkin
          and the other defendants conspired to make.
       Count Six – Making a Contribution by a Foreign National
       1. With respect to paragraph 52 of the Superseding Indictment, identify each alleged
          contribution or donation or express and implied promise to make contributions or
          donations by a foreign national in connection with federal and State elections,
          aggregating to $25,000 and more in a calendar year the making of which the
          government contends Mr. Kukushkin and the other defendants aided and abetted.
        Thank you for your cooperation in this matter. If you have any questions, please do not
hesitate to call.


                                                    Very truly yours,



                                                    /s/ Gerald B. Lefcourt
                                                    Gerald B. Lefcourt
